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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



In re:                                 )               Chapter 11
                                       )
VESTTOO LTD., et al.,                  )               Case No.: 23-11160 (MFW)
                                       )               (Jointly Administered)
             Debtors.                  )
                                       )               Re: D.I. Nos: 633 and 644
_______________________________________)


                                 COMPLETION OF MEDIATION


         On February 2, 2024, a Certification of Counsel Regarding Order Assigning Matters to

Mediation [D.I. 633] was filed with the Court.

         On February 5, 2024, an Order Assigning Matters to Mediation [D.I. 644] was signed by

the Honorable Mary F. Walrath.

         On February 6th, 7th and 8th an in-person mediation took place with the parties at the offices

of Greenberg Traurig, LLP in New York.

         Thereafter, the Mediator engaged in numerous follow-up calls with the parties. All parties

participating in the mediation have done so in good faith.

         The mediator understands that certain of the parties are engaged in settlement

negotiations without the participation of the mediator and all parties participating in those

negotiations are acting in good faith and sincerely attempting to reach a settlement.

         As a result of the mediation and ongoing settlement negotiations several settlements were

reached.
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       Due to other commitments of the mediator, on February 18, 2024, the mediation was

concluded.



                                                      SONTCHI, LLC



                                                      _________________________
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Dated: February 18, 2024
